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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
UNITED STATES of AMERICA                  )
                                           )
      v.                                   )     Criminal No.
                                           )     05-40037-FDS
BOULA LONA SISOMPENG,                      )
                                           )
      Defendant.                           )
__________________________________________)

                   ORDER ON DEFENDANT’S MOTION FOR
            REDUCTION OF SENTENCE UNDER FAIR SENTENCING ACT

SAYLOR, J.

       Defendant Boula Lona Sisompeng has moved for a sentence reduction based on the Fair

Sentencing Act of 2010 and certain related changes in the sentencing guidelines.

       To the extent that defendant seeks retroactive application of the changes in sentencing

laws, the motion will be denied for the reasons stated in the Court’s Order on Motion for

Reduction of Sentence, filed on November 18, 2011.

       To the extent that defendant contends that his plea agreement and judgment were violated

because he is incarcerated more than 500 miles from his home and lacks access to a drug and

alcohol program, the motion will also be denied. Neither fact, if true, would violate the terms of

his plea agreement or the judgment.

       For the foregoing reasons, defendant’s Motion for Reduction of Sentence under Fair

Sentencing Act is DENIED.

So Ordered.


                                                     /s/ F. Dennis Saylor
                                                     F. Dennis Saylor IV
Dated: November 18, 2011                             United States District Judge
